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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 9:17-CV-80948-ROSENBERG/HOPKINS

  DAVID JACK WILKINSON,
          Plaintiff,
  v.
  NEXTERA ENERGY, INC.,
          Defendant.
                                                 /

                             ORDER DISMISSING AND CLOSING CASE

          THIS MATTER is before the Court upon a sua sponte review of the record. On
  February 9, 2018, the Court entered an Order Granting Motion to Withdraw as Counsel [DE 45].
  Pursuant to that Order, Plaintiff’s counsel at Scott Wagner & Associates, P.A. was permitted to
  withdraw as counsel of record for Plaintiff. See DE 45. That Order 1 further required Plaintiff
  either to (1) retain new counsel, who must file a Notice of Appearance on behalf of Plaintiff in
  this case, or (2) notify the Court in writing of his intent to proceed pro se by no later than March
  1, 2018. See id. To date, no new counsel has filed a Notice of Appearance on behalf of Plaintiff
  and Plaintiff has not filed notice of his intent to proceed pro se, and the deadline to do so has
  passed. Accordingly, it is hereby

          ORDERED AND ADJUDGED as follows:

          1. This case is DISMISSED WITHOUT PREJUDICE.

          2. The Clerk of Court is directed to CLOSE THIS CASE. All deadlines are
             TERMINATED, all scheduled hearings are CANCELLED, and all pending motions
             are DENIED AS MOOT.

         DONE AND ORDERED in Chambers, West Palm Beach, Florida, this 2nd day of
  March, 2018.

                                                              _______________________________
  Copies furnished to:                                        ROBIN L. ROSENBERG
  Counsel of record                                           UNITED STATES DISTRICT JUDGE



  1
   On February 14, 2018, Plaintiff’s former counsel filed a Notice of Compliance [DE 46] indicating that Plaintiff
  was notified of the Court’s Order on February 9, 2018.
